            Case 3:19-cv-03674-WHA Document 250 Filed 06/23/22 Page 1 of 2




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                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     THERESA SWEET, et al.,
16                                                        No. 3:19-cv-03674-WHA
                      Plaintiffs,
17
18          v.
                                                          [PROPOSED] ORDER VACATING
19   MIGUEL CARDONA, in his official capacity             SUMMARY JUDGMENT BRIEFING
     as Secretary of Education, and the UNITED            SCHEDULE
20   STATES DEPARTMENT OF EDUCATION
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                      Defendants.
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                        [Proposed] Order Vacating Summary Judgment Briefing Schedule
                                             3:19-cv-03674-WHA
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             Case 3:19-cv-03674-WHA Document 250 Filed 06/23/22 Page 2 of 2




      [PROPOSED] ORDER VACATING SUMMARY JUDGMENT BRIEFING SCHEDULE
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     It is HEREBY ORDERED that:
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        The summary judgment schedule set forth in the Court’s prior Order, ECF No. 240, is
 4
     VACATED; and
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        A hearing on the Parties’ joint motion for preliminary approval of their class action settlement
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     agreement will be held on July 28, 2022, at the time previously schedule for the hearing on cross
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     motions for summary judgment.
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 9   PURSUANT TO STIPULATION, IT IS SO ORDERED.
10
11
             June 23, 2022.
     Dated: _________
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15                                             William Alsup
                                               United States District Judge
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                         [Proposed] Order Vacating Summary Judgment Briefing Schedule
                                              3:19-cv-03674-WHA
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